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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                                PLAINTIFFS’ MOTION TO COMPEL

            Pursuant to Fed. R. Civ. P. 37 and E.D. Va. Local Rule 37, Plaintiffs hereby move to

     compel Defendants Cox Communications, Inc. and CoxCom, LLC (collectively “Cox”) to

     produce:

            (1) For the period of 2012 through 2014, Cox Communications, Inc.’s audited financial

                statements in full, including full auditor reports, notes, letters, opinions and narrative

                discussions and explanations concerning the financial statements from which

                COX_SONY_00974168 through COX_SONY_00974176 are excerpted;

            (2) The data underlying Cox’s claim that

                                                                 , including any analysis or calculations

                thereof;

            (3) For the period of 2012 through 2014, CATS work log notes for Cox business

                subscribers   identified    in   Cox’s     ICOMS      billing   reports    produced     at

                COX_SONY_00973760 through COX_SONY_00973767;
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       (4) The expert report(s) of William Rosenblatt submitted on behalf of Cox in BMG Rights

           Management (US) LLC, et al. v. Cox Enterprises, Inc., et al., Case No. 1:14-cv-01611-

           LO-JFA (the “BMG Litigation”);

       (5) Video recordings of the depositions of Cox’s fact witnesses taken in the BMG

           Litigation;

       (6) Documents concerning Jason Zabek, Joseph Sikes, and Roger Vredenburg’s

                                   , performance evaluations, and salary/bonus history from the

           period of 2010 through 2016;

       (7) For the period of 2012 through 2014, weekly or monthly abuse reports generated by

           abuse category; and

       (8) A 30(b)(6) witness prepared to testify to Cox's



       For the reasons set forth in the accompanying Memorandum in Support, the Court should

grant the motion.

                 LOCAL RULE 37(E) MEET AND CONFER STATEMENT

       Counsel for Plaintiffs sent multiple letters or emails to Cox regarding its deficient

objections and responses, including on April 15, April 24, May 10, and June 10, 2019. The parties’

respective counsel have held telephonic meet-and-confers, including on June 18, on discovery

issues including on those raised by Plaintiffs’ Motion. The parties have resolved several issues

and others remain under consideration. Despite their efforts, the parties were unable to resolve all

of their disputes, including those raised by the instant motion, though Plaintiffs will continue to

confer in good faith to determine whether any of the issues raised herein may be mooted.




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                                          Respectfully submitted,

Dated: June 21, 2019                      /s/ Scott A. Zebrak

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